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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 RUTH SCHWARTZ, et al.,

                Plaintiffs,

        v.                                                 Civil Action No. 18-1349 (RDM)

 ISLAMIC REPUBLIC OF IRAN,

                Defendant.


                                             ORDER

       This matter comes before the Court on Plaintiffs’ Motion for Authorization and

Coordination of Payment to Special Master Deborah Greenspan, Dkt. 38. In this motion,

Plaintiffs seek compensation for the Special Master’s time expended assessing the validity of and

recommending damages for their claims pursuant to 28 U.S.C. § 1605A(e)(2). For reasons

explained below, the Court will grant the motion.

       The Foreign Services Immunities Act (“FSIA”) provides that courts may appoint special

masters to hear damage claims brought under the “state-sponsored terrorism” exception, 28

U.S.C. § 1605A, and that those special masters shall be paid “from funds available for the

program under section 1404C of the Victims of Crime Act of 1984,” 28 U.S.C. § 1605A(e)(1)–

(2). This provision ensures that special masters who have worked on cases brought under

§ 1605A will be compensated for their assistance. See In re Islamic Republic of Iran Terrorism

Litig., 659 F.Supp.2d 31, 61 (D.D.C. 2009). The FSIA directs that payment for special masters

shall be transferred “to the Administrator of the United States district court” in which the

particular case is pending. 28 U.S.C. § 1605A(e)(2).



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       On December 10, 2020, the Court issued an order authorizing Deborah Greenspan to

serve as Special Master in this case and, accordingly, to “receive evidence and to prepare

proposed findings and recommendations for the disposition of Plaintiffs’ claims for damages.”

Dkt. 31 at 1. The order provided that the Special Master “shall be paid $1,200 per day” for each

full day of work (four hours or more) and $600 for each day worked less than four hours, id. at 2;

authorized compensation for “reasonable expenses” including the “‘labor’ of a legal assistant or

associate attorney,” id.; directed the Special Master to provide Plaintiffs with “vouchers

itemizing, for each day of work, the amount of time worked, the nature of work done, and the

amount of business expenses incurred,” id. at 3; and directed Plaintiffs to file a motion with the

Court seeking compensation within two weeks of the entry of any damages, id.

       The Special Master submitted her completed report on August 23, 2021, 2021, see Dkt.

32, and the Court awarded damages and entered final judgment on May 18, 2022, Dkt. 36; Dkt.

37. Plaintiffs have now filed a motion seeking compensation for the Special Master, including

vouchers documenting the Special Master’s work in conformity with the Court’s instructions.

Dkt. 38. Upon review, the Court determines that Special Master Greenspan is entitled to

compensation for work done in this case pursuant to the Court’s order appointing her and is

satisfied that the value of such reimbursement should be $24,900.00.

       Accordingly, it is hereby

       ORDERED that the Motion for Payment, Dkt. 38, is GRANTED. It is further

       ORDERED that Special Master Greenspan is authorized to receive a payment of

$24,900.00 in fees and reasonable business expenses from funds available under § 1404C of the

Victims of Crime Act of 1984, 42 U.S.C. § 10603c; and it is further




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          ORDERED that the Clerk of the Court shall promptly provide to the United States

Department of Justice Office for Victims of Crime (“OVC”) one copy of:

     1. This Order;

     2. The Motion for Authorization and Coordination of Payment as well as the Invoice
        attached, Dkt. 38; and

     3. The Order appointing Ms. Greenspan as Special Master, Dkt. 31; and it is further

          ORDERED that the OVC shall transfer to the Clerk of the Court, from funds available

under § 1404C, $24,900.00 to cover the costs of the Special Master in this matter; and it is

further

          ORDERED that the Clerk of the Court shall coordinate any required follow-up with

the OVC and, upon receipt of such funds from the OVC, shall promptly disburse them to Ms.

Greenspan in compensation for her services as Special Master.

          SO ORDERED.

                                                     /s/ Randolph D. Moss
                                                     RANDOLPH D. MOSS
                                                     United States District Judge


Date: June 24, 2022




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